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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                            Case No. 15-30125

The Archdiocese of Saint Paul and                                 Chapter 11
Minneapolis,

            Debtor.
______________________________________________________________________________

MEMORANDUM OF LAW AND APPENDIX IN SUPPORT OF THE OBJECTIONS OF
 TRAVELERS CASUALTY AND SURETY COMPANY, HARTFORD ACCIDENT AND
    INDEMNITY COMPANY, AMERICAN HOME ASSURANCE COMPANY, TIG
 INSURANCE COMPANY, AND FIREMAN’S FUND INSURANCE COMPANY TO THE
     SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF THE
             OFFICIAL COMMITTEE OF UNSECURED CREDITORS
______________________________________________________________________________

         Travelers Casualty and Surety Company (formerly known as Aetna Casualty and Surety

Company), Hartford Accident and Indemnity Company, American Home Assurance Company,

TIG Insurance Company, as Successor by Merger to International Insurance Company, and

Fireman’s Fund Insurance Company (collectively, the “Insurers”), pursuant to the Court’s June

15, 2017 Scheduling Order, (ECF No. 1090), respectfully submit this memorandum of law in

support of their objections to the Second Amended Plan of Reorganization of the Official

Committee of Unsecured Creditors of the Archdiocese of Saint Paul and Minneapolis (the “UCC

Plan”), (ECF No. 890). Terms not otherwise defined herein have the meaning ascribed to them

in the UCC Plan. For ease of reference, the relevant UCC Plan provisions are set forth in the

attached Appendix. The Insurers’ objections are:

A.       The UCC Plan Does Not Satisfy Section 1129(a)(3) Of The Bankruptcy Code.

         Section 1129(a)(3) of the Bankruptcy Code requires a plan to be proposed in good faith

and not by any means forbidden by law. A plan is proposed in good faith only if it is likely to

achieve goals consistent with the purposes of the Code. See Search Market Direct, Inc. v. Jubber
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(In re Paige), 685 F.3d 1160, 1179 (10th Cir. 2012). A plan achieves a result consistent with the

purposes of the Code when the “plan is proposed with a legitimate and honest purpose to

reorganize and has a reasonable hope of success.” In re Sun Country Development, Inc., 764

F.2d 406, 408 (5th Cir. 1985). These considerations are especially important in the unique

circumstances of this case because this particular Debtor is not an ordinary commercial

operation, but rather a unique non-profit religious organization that serves a multitude of

interests.

        The UCC Plan is neither consistent with the purposes of the Code nor being proposed

with the intention of providing the Debtor with a fresh start. The UCC Plan classifies Claims

into 16 separate classifications. Few, if any, of the Claims in the 16 Classes are being discharged

as of the Effective Date. Other than Class 6 Claims (Pending Tort Claims), the UCC Plan calls

for the Debtor’s assumption of liability on account of the vast majority of Claims or for their

payment in full on the Effective Date or otherwise leaves creditors’ rights unaltered. Likewise,

the Debtor is not granted a discharge of Class 6 Claims (Pending Tort Claims) unless and until

all such claims are settled or fully adjudicated. (UCC Plan Section 14.2(b).) In other words, the

UCC Plan does not provide for the adjustment of the debts that Congress intended in enacting the

Code. If the UCC Plan were to be confirmed, the Debtor would emerge from this chapter 11

case burdened with essentially the same amount of debt and litigation it had when it entered

bankruptcy. Such a result, especially given the unique character of this particular debtor, would

not serve any of the statutory and equitable purposes for which the Code was enacted. As such,

the UCC Plan cannot reasonably be deemed to be proposed in good faith.

B.      The UCC Plan Does Not Satisfy Sections 1123(a)(5) Or 1129(a)(11) Of The Code.

        Section 1123(a)(5) of the Code requires that the Court find that a plan contains adequate

means for its implementation. Section 1129(a)(11) requires that the Court find that confirmation


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is not likely to be followed by the liquidation or a need for further reorganization of the debtor or

any successor to the debtor, unless such liquidation or reorganization is proposed in the plan. A

plan is feasible only if it offers a reasonable prospect for success and is workable. Travelers Ins.

Co. v. Pikes Peak Water Co. (In re Pikes Peak Water Co.), 779 F.2d 1456, 1460 (10th Cir.

1985).    “Put differently, a feasible plan is not a guarantee of success but rather offers a

reasonable assurance of success.” FB Acquisition Prop. I, LLC v. Gentry (In re Gentry), 807

F.3d 1222, 1225 (10th Cir. 2015). Whether a debtor has the ability to meet its plan obligations is

essential to a determination of feasibility. In re Riverbend Leasing LLC, 458 B.R. 520, 530

(Bankr. S.D. Iowa 2011). The test is whether the things that will be done after confirmation can

be done as a practical matter under the facts and circumstances of the case. In re Clarkson, 767

F.2d 417, 420 (8th Cir. 1985); In re Richards, 2004 Bankr. LEXIS 388, at *7, 2004 WL 764526

(Bankr. N.D. Iowa Apr. 2, 2004). The test does not require certainty but it should not be based

purely on speculation, hopes, and dreams. In re Plymouth Oil, Co., LLC, 2013 Bankr. LEXIS

4543, at 23 (Bankr. N.D. Iowa 2013); In re Associated Wood Prods., 323 B.R. 479, 482-483

(Bankr. D. Minn. 2005). As this Court once said, “[i]f the plan cannot fly, it needs to be fixed

before, not after, it leaves the ground.” Id. at 483.

         Given these statutory requirements, the UCC Plan cannot be fixed and should not be

allowed to leave the ground. The UCC Plan provides no reasonable assurance that it will be a

success or capable of implementation. It is vague and illusory as to how much money is needed

to fund it and where the money will come from. It is incumbent on the UCC as the plan

proponent to propose a feasible funding mechanism. In re Consul Restaurant Corp., 146 B.R.

979, 984 (Bankr. D. Minn. 1992). Instead, the UCC Plan offers “Funding Options” including the

possibility that the Debtor can increase Parish assessments, increase fundraising, obtain loans, or




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sell unspecified assets. (UCC Plan Section 5.2(b)). That is conjecture, not a plan. It is too

speculative to satisfy the feasibility requirements under sections 1123(a)(5) and 1129(a)(11) of

the Code.

C.      The UCC Plan Unfairly Discriminates Between Class 6 Claims and Class 7 Claims.

        Equality of distribution among creditors is a core principle of the Code. Fokkena v.

Fredrikson & Byron, P.A. (In re Hyman Freightways, Inc.), 2006 U.S. Dist. LEXIS 92206, at *6

(D. Minn. Dec. 19, 2006). The Code requires that “a plan may place a claim or an interest in a

particular class only if such claim or interest is substantially similar to other claims or interests in

such class.” 11 U.S.C. § 1122; Hanson v. First Bank of South Dakota, N.A., 828 F.2d 1310, 1313

(8th Cir. 1987). The Code also requires that a plan “provide the same treatment for each claim or

interest of a particular class, unless the holder of a particular claim or interest agrees to a less

favorable treatment of such particular claim or interest.” 11 U.S.C. § 1123(a)(4).

        Under a cramdown, a plan may not unfairly discriminate between similar creditor classes.

See 11 U.S.C. § 1129(b); In re 11,111, Inc., 117 B.R. 471, 478 (Bankr. D. Minn. Aug. 17, 1990).

A plan discriminates unfairly if similar claims are treated differently without a reasonable basis

for the disparate treatment. In re Union Fin. Servs. Group, Inc., 303 B.R. 390, 421 (Bankr. E.D.

Mo. 2003). Courts determine whether the plan discriminates unfairly using the following four-

part inquiry:

            1. whether the discrimination has a reasonable basis;

            2. whether the debtors can carry out the plan without discrimination;

            3. whether the discrimination proposed is in good faith;

            4. whether the degree of discrimination is directly related to the basis or rationale for
               the discrimination, i.e., does the basis for the discrimination demand that this
               degree of differential treatment be imposed.




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In re Apex Oil Co., 118 B.R. 683, 710-711 (Bankr. E.D. Mo. 1990); see also In re Hoffinger

Indus., 2005 Bankr. LEXIS 420, at *19 (Bankr. E.D. Ark. Jan. 24, 2005) (plan “clearly and

unequivocally” discriminated by classifying known tort claimant in separate class from general

unsecured creditors).

       Under the UCC Plan, Class 6 Claims (Pending Tort Claims) and Class 7 Claims (Future

Tort Claims) are substantially similar but are afforded starkly disparate treatment. Both classes

are holders of Tort Claims. The only difference between the two Classes is that holders of Class

7 Claims are individuals who were under a disability recognized by Minnesota law and did not

file a proof of claim by the Claim Filing Date. While the Debtor’s Plan affords holders of

Pending Tort Claims and Future Tort Claims substantially similar treatment and creates a trust

for both Classes’ benefit, the UCC Plan does not. Class 6 Claims (Pending Tort Claims) are

funded by a Trust, are administered under special distribution procedures, and receive the benefit

of settlements with insurers. (UCC Plan Sections 4.6(b) and 6.2). Class 7 Claims (Future Tort

Claims) receive none of these benefits under the UCC Plan. (UCC Plan Section 4.7). The UCC

Plan provides no basis for this dissimilar treatment.

D.     The UCC Plan Requires The Court To Issue An Improper Advisory Opinion As To
       Whether The Contemplated Assignment Of The Transferred Insurance Interests
       Constitutes A Breach Of The Insurance Policies.

       The UCC Plan provides that the Court must decide at the Confirmation Hearing whether

the assignment of the Transferred Insurance Interests violates the Insurance Policies. (UCC Plan

Section 6.1(b)(4).) That question will not be properly before the Bankruptcy Court at a

Confirmation Hearing because the Court cannot declare the rights and obligations of the parties

in the context of a Confirmation Hearing. See Fed. R. Bankr. P. 7001 (requiring an adversary

procedure to recover money or property); see also Sunflower Racing v. Mid-Continent Racing &




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Gaming Co. (In re Sunflower Racing), 226 B.R. 673, 694 (D. Kan. 1998) (bankruptcy court lacks

equitable power to determine contractual rights in the context of a confirmation proceeding);

MFS Telecom, Inc. v. Motorola, Inc. (In re Conxus Communs., Inc.), 262 B.R. 893, 900 (D. Del.

June 4, 2001) (bankruptcy court lacks equitable power to enjoin contract counterparty from

exercising rights after post-confirmation breach). The ruling called for by the UCC Plan would,

therefore, be an advisory opinion, which the Court lacks the power to issue. See United States

Nat’l Bank v. Independent Ins. Agents of Am., 508 U.S. 439, 446 (1993) (“a federal court [lacks]

the power to render advisory opinions”).

E.     The UCC Plan Requires The Court To Issue An Improper Advisory Opinion On
       What Defenses The Insurers Can Raise In Future Litigation.

       The UCC Plan purports to preserve the Insurers’ defenses, “except any defense (1)

regarding the assignment . . . of the Transferred Insurance Interests; (2) effected by operation of

law because of confirmation of this Plan; or (3) based on res judicata or collateral estoppel

related to facts determined by the Bankruptcy Court.” (UCC Plan Sections 6.1(b)(3), (c) and

6.3(a).) The question of what defenses can be asserted in any future coverage litigation will not

be properly before the Court at a Confirmation Hearing. An order confirming a plan that

purports to decide that question would be an impermissible advisory ruling, which the Court

lacks the power to issue. See United States Nat’l Bank, 508 U.S. at 446.

       Further, as noted above in Section D, the Court cannot declare the rights and obligations

of the parties in the context of a Confirmation Hearing.

       The UCC Plan seeks entry of an order by this Court stating that its findings will have a

preclusive effect in other cases. A court cannot unilaterally dictate that its findings will have

preclusive effect for all purposes in the future, and thereby bind all future courts to rule

consistently with that Court’s instructions. Blankenship v. Chamberlain, 695 F. Supp. 2d 966,



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974 (E.D. Mo. 2010); Midway Motor Lodge v. Innkeepers’ Telemanagement & Equipment, 54

F.3d 406, 409 (7th Cir. 1995). See also Matsushita Elec. Indus. Co., Ltd. v. Epstein, 516 U.S.

367, 396 (1996) (Ginsburg, J., concurring in part, dissenting in part) (“A court conducting an

action cannot predetermine the res judicata effect of the judgment; that effect can be tested only

in a subsequent action.”) (citing 7B Wright, Miller & Kane, Federal Practice and Procedure

§1789 at 245 (2d ed. 1986)); Covanta Onondaga Ltd. v. Onondaga County Resource, 318 F.3d

392, 397-98 (2nd Cir. 2003) (“the first court does not get to dictate to other courts the preclusion

consequences of its own judgment”). The settled rule is that the subsequent court, not the

rendering court, determines the preclusive effect of a judgment. Midway Motor Lodge, 54 F.3d

at 409. See also Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 223 (1985) (holding that

“[t]he collateral-estoppel effect of an arbitration proceeding is at issue only after arbitration is

completed”). These rules apply with equal force to bankruptcy rulings. See Gordy v. Coffman

(In re Gordy), 2016 Bankr. LEXIS 4555, at *3 (Bankr. N.D. Ind. Nov. 28, 2016) (state court can

determine scope of bankruptcy court order granting relief from the automatic stay).

       There is no procedural authority under which the UCC can ask this Court to address and

predetermine the preclusive effect of the UCC Plan or confirmation on Insurers’ future rights and

defenses in coverage disputes, if any. The preclusive effect of the Court’s rulings can only be

determined by the court in which the issue of claim or issue preclusion is asserted. Because the

UCC Plan states otherwise, it is not in conformity with law and therefore cannot be confirmed.

F.     The UCC Plan Requires The Archdiocese To Breach Its Duty To Cooperate With
       The Insurers.

       As explained above in Section B, Section 1123(a)(5) of the Code requires that the Court

find that a plan contains an adequate means for implementation. In this case, the UCC Plan

creates conflicting duties and obligations that the Debtor cannot simultaneously meet. First, the



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UCC Plan purports to require the Archdiocese to honor its duty to cooperate with the Insurers.

(See, e.g., Section 6.1(b)(3).) But it also requires the Archdiocese to cooperate with the Tort

Claims Reviewer and the Trustee in connection with the administration of the Trust Distribution

Plan, (UCC Plan Section 6.2(b)), and the prosecution of claims against the Insurers, (see, e.g.,

UCC Plan Section 6.1(c)(1)(i)). The Archdiocese and the Insurers are adverse to the Trustee and

the Tort Claims Reviewer with respect to the Tort Claims. The UCC Plan cannot, consistent

with the Archdiocese’s duty to cooperate with the Insurers, require the Archdiocese to cooperate

with the Tort Claims Reviewer or the Trustee with respect to the Tort Claims. As a result, the

Debtor cannot meet its post-closing obligations. Therefore, the UCC Plan is not feasible on its

face.

G.      The UCC Plan Improperly Requires The Court To Grant Litigation Claimants
        Standing And A Right Of Intervention In The Insurance Coverage Adversary
        Proceeding.

        The UCC Plan provides that “all Litigation Claimants will be deemed to have the right to

join or intervene into the Insurance Coverage Adversary Proceeding.” (UCC Plan Section

6.2(i)(5).) The Court does not have plenary authority to grant standing and a right of

intervention in an adversary proceeding; those matters are governed by Rule 7024 and Article III

of the Constitution, which limits standing to claimants with a genuine “case or controversy.”

The Insurance Coverage Adversary Proceeding involves contractual disputes between the

Archdiocese and its insurers, and the Litigation Claimants are not parties to any of the contracts

at issue. Accordingly, there is no actual controversy between the Litigation Claimants and the

Archdiocese’s insurers. See Miller v. Market Men's Mut. Ins. Co., 262 Minn. 509, 511 (1962)

(“It is established in this state that an injured person possesses no direct cause of action against

the insurer of the tortfeasor prior to recovery of judgment against the latter.”) And, the Litigation




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Claimants do not have standing to participate in the Insurance Coverage Adversary Proceeding.

See United Fire & Cas. Co. v. Titan Contrs. Serv., 2014 U.S. Dist. LEXIS 137446, at *5 (E.D.

Mo. Sept. 29, 2014) (holding that tort claimants have no standing to participate in insurance

coverage case between insurer and insured). Therefore, intervention would not be appropriate

under the applicable Rules. See Med. Liab. Mut. Ins. Co. v. Alan Curtis LLC, 485 F.3d 1006,

1009 (8th Cir. 2007) (holding that potential future judgment creditors of an insured do not

possess an interest in a coverage case between the insured and its insurer that could justify

intervention under Rule 24 of the Federal Rules of Civil Procedure).

       In any event, those issues will not be properly before the Court at a Confirmation

Hearing, and any order purporting to make rulings about the hypothetical issue of whether

claimants—who have not yet even elected to become Litigation Claimants—have standing and a

right of intervention in the Insurance Coverage Adversary Proceed would, under the authorities

cited above in Section D, be an impermissible advisory ruling. 1

H.     The UCC Plan Requires The Court To Issue A Prohibited Advisory Opinion
       Regarding Whether The UCC Plan Satisfies Conditions In The Insurance Policies.

       The UCC Plan sets forth procedures for establishing the Archdiocese’s liability “for the

purpose of insurance coverage under . . . Non-Settling Insurer’s Insurance Policies.” (UCC Plan

Section 6.2(l)(1).) Some or all of the Insurance Policies contain conditions to the Insurers’

liability, including the establishment of the Archdiocese’s liability by either a settlement

consented to by the Insurers or a judgment after an actual trial. Whether the procedures

contemplated by the UCC Plan satisfy any conditions in any of the Insurance Policies will not be

properly before the Court at a Confirmation Hearing. Therefore, confirming a plan that purports

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    Significantly, Litigation Claimants may have Claims that, even if proven, would not be
covered under any insurance policies at issue in the Insurance Coverage Adversary Proceeding,
either because the Claims do not trigger coverage or coverage is excluded under the policies.


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to deem such conditions satisfied by the UCC Plan would constitute an impermissible advisory

opinion, which the Court lacks the power to issue. See United States Nat’l Bank, 508 U.S. at

446. Further, the Court cannot declare the rights and obligations of the parties in the context of a

Confirmation Hearing. See Fed. R. Bankr. P. 7001; see also In re Sunflower Racing, 226 B.R. at

694; MFS Telecom, 262 B.R. at 900.

I.     The UCC Plan’s Procedures For Establishing The Archdiocese’s Liability Are
       Collusive And Violate The Archdiocese’s And The Insurers’ Rights.

       The UCC Plan provides that “the Trustee may object to [a] Class 6 claimant’s Claim or

initiate a court proceeding contemplated by 28 U.S.C. § 157, over any objection of a Non-

Settling Insurer, if the purpose is to obtain a judicial determination as to whether the Archdiocese

. . . is liable, and the amount of such liability, for the purpose of insurance coverage under such

Non-Settling Insurer’s Insurance Policies.” (UCC Plan Section 6.2(l)(1); see also UCC Plan

Section 6.3(a)(1).) This procedure is objectionable.

       First, the existence and amount of the Archdiocese’s liability can only be determined by a

trial in the district court. See 28 U.S.C. § 157(b)(5). With certain exceptions not relevant here,

bankruptcy courts have authority to enter final orders in “core proceedings.” See 28 U.S.C. §

157(b)(1). The definition of “core proceeding” includes the allowance or disallowance of claims

against the estate, but expressly excludes the liquidation or estimation of contingent or

unliquidated personal injury tort or wrongful death claims for purposes of distribution. See 28

U.S.C. §157(b)(2)(B); In re EBG Health Care II, Inc., 303 B.R. 626, 630 (Bankr. W.D. Mo.

2003) (“bankruptcy courts may not hear personal injury tort or wrongful death claims”).

Proceedings that liquidate or estimate personal injury tort claims are “non-core” proceedings. In

re Roman Catholic Archbishop, 339 B.R. 215, 219 (Bankr. D. Or. 2006). A bankruptcy court

may hear non-core proceedings and submit proposed findings of fact and conclusions of law to



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the district court for consideration. See 28 U.S.C. § 157(c). The district court will exercise de

novo review of any finding or conclusion of the bankruptcy court to which a party objects. Id

       Second, the procedure is collusive and rife with conflicts of interests, and prevents the

Insurers from asserting their right to object to claims. Numerous bankruptcy courts, including

one in the Eighth Circuit, have held that insurers have standing to object to claims when the

insurance proceeds will be used to pay those claims. In re Standard Insulations, Inc., 138 B.R.

947, 950 (Bankr. W.D. Mo. 1992); Church Mut. Ins. Co. v. Am. Home Assur. Co. (In re Heating

Oil Partners, LP), 422 Fed. Appx. 15, 17 (2d Cir. 2011); In re Berkshire Foods, Inc., 302 B.R.

587, 590 (Bankr. N.D. Ill. 2003). One court has held that even if the insurer’s obligation to pay a

claim is not established, the insurer still has standing to object if it is obligated to defend the

debtor. Frontier Ins. Co. v. Westport Ins. Corp. (In re Black), 460 B.R. 407, 415 (Bankr. M.D.

Pa. 2011).

       In the case at hand, the Trustee is a fiduciary of Pending Tort Claimants. The Trustee’s

interest is in maximizing the Archdiocese’s liability in order to maximize a recovery for Pending

Tort Claims. Authorizing the Trustee to control the objection process unfairly and improperly

divests the Archdiocese and/or the Insurers of the right to control the Archdiocese’s defense.

       Third, the UCC Plan requires the Court to overrule future objections that the Insurers

may make in connection with the claims allowance process. Because no such objections will be

properly before the Court at a Confirmation Hearing, any order purporting to decide future

objections would be a prohibited advisory opinion.

J.     The UCC Plan Contains An Impermissible Assignment Of Proceeds From Personal
       Injury Claims To The Trust.

       The UCC Plan assigns to the Trust the right to receive proceeds of Tort Claimants’

personal injury claims. (E.g., Section 6.2(i)(2)(i)-(ii), 6.2(i)(3), 6.4(c)). These provisions violate



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11 U.S.C. §1129(a)(3) because the assignment of the proceeds of the Tort Claimants’ personal

injury claims is barred by applicable law and invalid.

       Personal injury claims are not assignable under Minnesota law. See Leuthold v. Redwood

County, 206 Minn. 199, 201 (1939) (explaining that the test for determining if a claim is

assignable is whether it survives to the personal representative of a decedent); Minn. Stat.

§573.01 (providing that, except for actions arising out of an injury to a person, all other causes of

action survive the death of the holder). See also, e.g., Nat’l Union Fire Ins. Co. v. Grimes, 278

Minn. 45 (1967) (recognizing rule “forbidding the assignment of claims for personal injuries”).

Where a personal injury claim is not assignable, the proceeds of such a claim are likewise not

assignable because “there is no sound basis for distinguishing between the cause of action and its

proceeds as far as assignability is concerned.” Southern Farm Bureau Cas. Ins. v. Wright Oil

Co., 248 Ark. 803, 809 (1970). See also, e.g., Karp v. Speizer, 132 Ariz. 599, 601 (App. 1982)

(rejecting party’s “attempt to avoid the general rule by contending that only the proceeds of the

claim were here involved”); McGhee v. Charley’s Other Brother, 391 A.2d 1289, 1293 (N.J.

Super. Ct. Law Div. 1978) (“Since the trust agreement transfers from Mozee to the Automobile

Association a right to payment out of the proceeds of a settlement or judgment not yet received,

it accomplishes exactly the same objective as contractual arrangements found to be void.”);

North Carolina Baptist Hospitals, Inc. v. Mitchell, 362 S.E.2d 841, 843 (N.C. App. 1987) (“the

assignment of proceeds in a cause of action for personal injury is in violation of public policy

and thus invalid”); Harvey v. Cleman, 400 P.2d 87, 90 (Wash. 1965) (rejecting argument that

there is a difference between assigning a cause of action and assigning the proceeds of any

recovery).




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K.     The UCC Plan’s Provisions Dealing With Prosecution Of Tort Claims And Claims
       Against The Insurers Involve Champerty And Maintenance.

       The UCC Plan provisions relating to the prosecution of Tort Claims and Claims against

the Insurers violate 11 U.S.C. §1129(a)(3) because they violate Minnesota’s prohibition of

champerty and maintenance. Champerty is an agreement between a litigant and a stranger to a

lawsuit by which the stranger pursues the litigant’s claims as consideration for receiving part of

any judgment or proceeds.     Johnson v. Wright, 682 N.W.2d 671, 675 (Minn. App. 2004).

Maintenance is assistance in prosecuting or defending a lawsuit given to a litigant by someone

who has no bona fide interest in the case. Id. Champerty and maintenance have long been

barred by Minnesota law because they “tend to stir up strife and contention and vexatious and

speculative litigation, and prevent the amicable compromise of claims between citizens.” Huber

v. Johnson, 70 N.W. 806, 807 (Minn. 1897).

       In Huber, the defendant had a claim for damages against a railway company. 70 N.W. at

806. The plaintiff, who was a stranger to the defendant and the claim, entered into a contract

with the defendant, pursuant to which the plaintiff agreed to pay for an attorney to prosecute a

lawsuit in the name of the defendant against the railway company. Id. The contract provided

that the plaintiff was entitled to half of any recovery, and that the claim could not be settled

without plaintiff’s consent and, if the defendant did settle without the plaintiff’s consent, the

defendant had to pay the plaintiff a fixed and arbitrary amount.       Id. at 806-07. After the

defendant settled with the railway company without the plaintiff’s consent, the plaintiff sued on

the contract. Id. at 807. The Minnesota Supreme Court held that the contract was champertous

and void as against public policy because the plaintiff was a stranger to both the defendant and

the claim, and had no object to intermeddling in the matter except pure speculation. Id. at 808.

The court held that the most objectionable part of the contract was the portion requiring the



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defendant to gain plaintiff’s consent before settling the claim. The Court explained: “The law

favors the compromise of disputes without litigation, and it is difficult to conceive of any

stipulation more against public policy than one which prohibits a party from settling his own

dispute, or at least prevents it except by his subjecting himself to the payment of an arbitrary

penalty for doing so.” Id.

        The UCC Plan violates Minnesota’s prohibition against champerty and maintenance

because it sets up a scheme pursuant to which the Trust will fund speculative and vexatious

litigation relating to Tort Claims and related insurance Claims and prevent the amicable

compromise of those Claims by the interested parties. The UCC Plan provides that the Trust will

pay advances to Tort Claimants on their Tort Claims and sets up convoluted and collusive

procedures for prosecuting Tort Claims against the Archdiocese. The UCC Plan further provides

that, if such claims are successful against the Archdiocese, related insurance Claims will be

prosecuted against the Insurers, which are the only potential source of recovery with respect to

the litigation of Tort Claims under the UCC Plan.2 (UCC Plan Sections 6.) The Trust, which is

a stranger to both the Tort Claims and any related insurance claims, is required to fund the

litigation relating to those claims. (E.g., Sections 6.1(a), 6.2(i)(2), 6.2(i)(4), 6.4(a), 6.4(b).)

Indeed, the Trust is obligated to fund both sides of any Tort Claim litigation that results in a

recovery. (E.g., UCC Plan Sections 6.1(a), 6.2(i)(2)). The Trust also has the right to receive any

and all resulting recoveries, (e.g. UCC Plan Sections 6.1(i)(2), 6.4(c)), and neither Tort Claims

nor related insurance claims can be settled without the Trust’s consent, (UCC Plan Sections

6.4(a), 6.4(c)).

2
   While the UCC Plan provides that if a Litigation Claimant obtains a judgment against the
Archdiocese and no Insurer is implicated by the Litigation Claim, then the judgment will be
satisfied by the Trust up to the amount awardable to the Litigation Claimant under the Trust
Distribution Plan, the UCC Plan does not explain where the Trust will get the money to do that.


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       The Tort Claimants do not give up the right to prosecute their claims in exchange for the

advances that they receive. To the contrary, the UCC Plan strongly promotes litigation of Tort

Claims and discourages any compromise and settlement. To be sure, Tort Claimants can choose

to be either Distribution Plan Claimants or Litigation Claimants, (UCC Plan Section 6.2(d)), but

the UCC Plan is structured to provide powerful incentives for Class 6 Claimants to elect to

proceed as Litigation Claimants. For example, the Trust can force a Distribution Plan Claimant

to litigate his or her Tort Claim by simply objecting to the Claim “if the purpose is to obtain a

judicial determination as to whether the Archdiocese . . . is liable, and the amount of such

liability, for the purpose of insurance coverage under such Non-Settling Insurer’s Insurance

Policies.” (UCC Plan Section 6.2(l).) Because the Trust’s interest is in maximizing insurance

recoveries, the Trust will presumably object to most if not all of the Distribution Plan Claims,

and the Distribution Plan Claimants will be forced to litigate their claims notwithstanding that

they chose not to be a Litigation Claimant.

       Tort Claimants are further encouraged to be Litigation Claimants rather than Distribution

Claimants because the full amount of any recovery associated with the prosecution of a

Distribution Plan Claimant’s Claim will go to the Trust and be distributed among all Tort

Claimants, whereas Litigation Claimants can potentially receive from the Trust a portion of any

recovery resulting from litigation of their claims.     (UCC Plan Sections 6.2(d), 6.2(i)(2).)

Significantly, however, the potential for any such recovery by Litigation Claimants is severely

limited both because they only have a chance to recover on amounts that are in excess of their

attorneys’ fees, the Trust’s attorneys’ fees, and the advance they previously received from the

Trust and because the UCC Plan places very low percentage caps on any such recovery. (UCC

Plan Section 6.2(g), 6.2(i)(2).)




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       Thus, under the UCC Plan: (1) a Tort Claimant is encouraged to litigate his or her Tort

Claim; (2) the Tort Claimant receives an advance on the Tort Claim at the outset of litigation; (3)

there are limitations on the Tort Claimant’s right of recovery in connection with a litigated Tort

Claim because, among other reasons, the Trust and other Tort Claimants have the right to receive

some or all of any recovery; (4) the Tort Claimant has no obligation to return the advance the

Tort Claimant received if the Tort Claimant litigates the Tort Claim to judgment and loses; and

(5) the Trust assumes control over litigation of the claim to the extent that the Tort Claimant

cannot settle without the Trust’s consent; and (6) the Trust will pay the Tort Claimant’s

attorneys’ fees if the Tort Claimant recovers any amount in connection with a litigated claim.3

This is precisely the type of champertous arrangement that is barred by Minnesota law because it

strongly encourages litigation and discourages Tort Claimants from settling their claims. See

Maslowski v. Prospect Funding Partners LLC, 890 N.W.2d 756, 763 (Minn. App. 2017)

(affirming trial court’s refusal to enforce forum selection clause in contract with litigation

funding company because of concern that the contract violated Minnesota’s prohibition on

champerty in that “a litigant with no obligation to pay advances back has no incentive to settle,

unless the amount recovered would exceed her attorney’s fees plus the amount she would owe to

the litigation funding company.”) In fact, the UCC Plan is far worse, because the Tort Claimants

cannot settle any Tort Claims without the Trust’s consent. See Huber, 70 N.W. at 808 (“it is

difficult to conceive of any stipulation more against public policy than one which prohibits a

party from settling his own dispute”).

       In short, the UCC Plan’s scheme for prosecuting Tort Claims and related insurance

claims constitutes the exact type of “perver[sion of] the remedial process of the law” that the

3
   The Tort Claimant presumably has no duty to pay legal fees if the Tort Claimant fails to
recover anything in connection with a litigated claim.


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prohibition of champerty and maintenance is designed to prevent. Id. Rather than resolving the

Tort Claims pending against the Debtor, it warps the natural incentives of litigation and

settlement to encourage speculative and vexatious litigation against the Reorganized Debtor and

prevents reasonable settlements.     The UCC Plan’s apparent attempt to foment continued

litigation of these Claims defeats the central purpose of this reorganization case, which is

intended to resolve the Tort Claims and give the Debtor a fresh start. For that reason, the UCC

Plan should not be confirmed.

L.       Joinder In Other Objections And Reservation Of Rights.

         The Insurers join in, and incorporate herein by reference, the following objections of

Certain Underwriters at Lloyd’s, London, The Continental Insurance Company, National Fire

Insurance Company, and Continental Casualty Company: Objection Nos. 2, 3, 4, 6, 7, 8, 17, 19,

22, 26, and 32. The Insurers also reserve the right to join in the objections filed by any other

party.


The attorneys for Travelers Casualty and Surety Company are authorized by the attorneys
for Hartford Accident and Indemnity Company, American Home Insurance Company,
TIG Insurance Company, and Fireman’s Fund Insurance Company to file this
memorandum of law in support of the objections of Travelers, Hartford, American Home,
TIG, and Fireman’s Fund to the Second Amended Chapter 11 Plan of Reorganization of
the Official Committee of Unsecured Creditors of the Archdiocese of Saint Paul and
Minneapolis with their electronic signatures.




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                                         Respectfully submitted,

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                                         APPENDIX
                       Pertinent Plan Provisions Relating to Objections

       The following are specific provisions of the UCC Plan to which the Insurers object. For

ease of reference, the provisions are grouped together based on the objection to which they relate

in the order in which the objections appear in the Insurers’ Memorandum of Law.

A.     The UCC Plan Does Not Satisfy Section 1129(a)(3) Of The Bankruptcy Code.

       Sections 3.1 and 14.2(b) of the UCC Plan:

               3.1 SUMMARY. The categories of claims listed below classify
               claims (except for Administrative Claims and Priority Tax Claims)
               for all purposes, including voting, confirmation of this Plan, and
               distribution pursuant to this Plan.

                CLASS      DESCRIPTION               IMPAIRMENT VOTING
                1          Priority Claim            Unimpaired No
                2          Governmental       Unit   Unimpaired No
                           Claims
                3          General       Insurance   Unimpaired        No
                           Fund
                4          Archdiocese of Saint      Unimpaired
                           Paul and Minneapolis
                           Priests’ Pension Plan
                           Claims
                5          Archdiocese of Saint      Unimpaired        No
                           Paul and Minneapolis
                           Lay        Employees’
                           Pension Plan Claims
                6          Pending Tort Claims       Impaired          Yes
                7          Future Tort Claims        Impaired          Yes
                8          Inter-Parish      Loan    Unimpaired        No
                           Fund and Assessment
                           Overpayment Claims
                9          Trade Vendors and         Unimpaired        No
                           General      Unsecured
                           Creditors
                10         Secured Claim of          Unimpaired        No
                           Premier Bank
                11         Guaranty Claims           Unimpaired        No
                12         Other Tort Claims and     Impaired          Yes
                           Unsecured Claims
                13         Abuse           Related   Unimpaired        No


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                     Contingent Claims
           14        Archdiocese Medical       Unimpaired        No
                     and Dental Plan
           15        Non-Credibly              Unimpaired        No
                     Accused         Priest
                     Support Payments
           16        Credibly      Accused     Impaired          Yes
                     Priest        Support
                     Payments

          14.2 DISCHARGE AND INJUNCTION

          (b)      Class 6 Tort Claims. With respect to Class 6 Claims, the
          Archdiocese and the Reorganized Debtor shall not receive a
          discharge on account of a Class 6 Claim until such Class 6 Claim
          is settled with the Archdiocese, Reorganized Debtor and the Non-
          Settling Insurers or such Class 6 Claim is fully adjudicated and
          determined and subject to Final Order. The discharge hereunder
          shall not limit in any way the obligations of Non-Settling Insurers
          to defend and pay the Archdiocese’s or Reorganized Debtor’s
          liability for Class 6 Claims under the Insurance Policies.




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B.   The UCC Plan Does Not Satisfy Sections 1123(a)(5) And 1129(a)(11) Of The Code.

     Section 5.2(b) of the UCC Plan:

            5.2 FUNDING THIS PLAN.

            (b) Funding Options. Under this Plan, the Bankruptcy Court will
            determine the value of the Debtor's assets and the Debtor will then
            pay that value into the Trust. The Debtor may fund the Plan as it
            deems appropriate, whether through increases in Parish
            assessments, fundraising, loan financing and/or the sale of selected
            assets. …Thus, to permit the Debtor to contribute the liquidation
            value of all of its assets, in conformance with Section 1129(a)(7) of
            the Bankruptcy Code.




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C.   The UCC Plan Unfairly Discriminates Between Class 6 Claims and Class 7 Claims.

      Sections 4.6, 4.7 and 6.2(a) and (c) of the UCC Plan:

             4.6 PENDING TORT CLAIMS (CLASS 6).

             (a) Definition. A “Class 6 Claim” means a Pending Tort
             Claim.

             (b) Summary. …Distribution from the Trust, however,
             does not preclude or affect claims or recoveries by Class 6
             claimants against the Archdiocese, the Reorganized Debtor
             or Non-Settling Insurers. The Trust shall fund the defense
             of the Archdiocese and the Reorganized Debtor as against
             any Litigation Claims brought by Class 6 Claimants, but
             only to the extent that the Archdiocese or Reorganized
             Debtor is not defended or otherwise reimbursed for its
             defense expenses by any Insurer. The Trust shall advance
             funding or indemnify the Archdiocese and the Reorganized
             Debtor with respect to any judgments or settlements of any
             Litigation Claims brought by Class 6 claimants, but only to
             the extent that such judgments or settlements are not
             funded, or the Archdiocese or the Reorganized Debtor is
             not indemnified for them, by any Insurer. The Trust shall
             pursue recoveries against any Non-Settling Insurers in
             respect of the Transferred Insurance Interests. … The Class
             6 Claims will not be released or discharged against the
             Archdiocese or Reorganized Debtor until such claims are
             settled with the Archdiocese or Reorganized Debtor and its
             Insurers or are fully adjudicated, resolved and subject to
             Final Order . . . .

                                         ***

             4.7 FUTURE TORT CLAIMS (CLASS 7).

             (a) Definition. A Class 7 Claim means a Future Tort
             Claim (“Class 7 Claim”).

             (b) Treatment. Liability for Class 7 Claims shall be
             assumed by the Reorganized Debtor. To preserve coverage
             under Insurance Policies issued by Non-Settling Insurers,
             Class 7 claimants specifically reserve any and all claims
             which Class 7 claimants have against the Archdiocese or
             Reorganized Debtor. The Class 7 Claims will not be
             released against the Archdiocese or Reorganized Debtor
             until such Class 7 Claims are settled with the Archdiocese


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          or Reorganized Debtor and its Insurers, or until such Class
          7 Claims are fully adjudicated and determined and subject
          to Final Order. The Non-Settling Insurers remain fully
          liable for their obligations related in any way to the Class 7
          Claims. The eventual release of these Class 7 Claims will
          be pursuant to the principles set forth in Pierringer v.
          Hoger, 124 N.W.2d 106 (Wis. 1963) and Frey v.
          Snelgrove, 269 N.W.2d 918 (Minn. 1978). Regardless of
          the eventual release of the Archdiocese and Reorganized
          Debtor, the Class 7 Claimants will expressly reserve their
          rights against other Persons, including joint tortfeasors,
          who will remain severally liable on any Class 7 Claims.

                                       ***

          6.2 TREATMENT OF CLASS 6 CLAIMS.

          (a) Trust Liability. On the Effective Date, the Trust shall
          automatically and without further act or deed assume all
          liability for preserving, managing and distributing Trust
          Assets to Class 6 claimants pursuant to the Trust
          Distribution Plan. The Trust does not assume any liabilities
          of the Archdiocese or Reorganized Debtor . . . .

                                          ***

           (c) Distributions to Qualified Claimants. The Tort
          Claims Reviewer shall determine whether a Class 6
          Claimant is entitled to a distribution under the Trust
          Distribution Plan (“Qualified Claimant”). For all Qualified
          Claimants, the Tort Claims Reviewer will determine the
          number of points to be assigned to the Qualified Claimant
          pursuant to the Trust Distribution Plan. The Trust will
          notify every Qualified Claimant of his or her assigned
          number of points and will mail every Qualified Claimant a
          Claim Resolution Agreement, attached as Exhibit E. In
          order to receive any distribution from the Trust, the
          Qualified Claimant must execute the Claim Resolution
          Agreement and mail it back to the Tort Claims Reviewer by
          First Class Mail, Postage Paid. In the Claim Resolution
          Agreement, the Class 6 Claimant shall release any Settling
          Insurer from further liability on the Class 6 Claims and
          waive any right to pursue a direct action under Minn. Stat.
          § 60A.08, subd. 6 or other applicable law against any
          Settling Insurer. Once the Tort Claims Reviewer receives
          the executed Claim Resolution Agreement, the Trust will
          make an immediate partial distribution to such Qualified


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          Claimant pursuant to the terms of the Trust Distribution
          Plan. The amount of the initial distribution each Qualified
          Claimant receives will be based on his or her assigned
          points, with each Qualified Claimant sharing pro rata in the
          Trust Assets to be distributed to Qualified Claimants. . . .
          The Qualified Claimant is entitled to future distributions
          from the Trust if additional Trust Proceeds become
          available as a result of settlements with a Non-Settling
          Insurers or any judgment awarded and collected by the
          Trust or a Litigation Claimant. . . .




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D.   The UCC Plan Requires The Court To Issue An Improper Advisory Opinion
     As To Whether The Contemplated Assignment Of The Transferred
     Insurance Interests Constitutes A Breach Of The Insurance Policies.

     Section 6.1(b)(4) of the UCC Plan:

            6.1(b)(4) The determination of whether the assignment and
            transfer of the Transferred Insurance Interests provided for in this
            Section is valid, and does not void, defeat or impair the insurance
            coverage issued by the Non-Settling Insurers, shall be made by the
            Bankruptcy Court at the confirmation hearing. If a party in interest
            (which, for this purpose, shall include Non-Settling Insurers) fails
            to timely file an objection to the proposed assignment and transfer
            of the Transferred Insurance Interests or other terms of the Plan
            related to the Insurance Policies by the date set to file such
            objections, that party in interest shall be deemed to have
            irrevocably consented to the assignment and transfer of
            Transferred Insurance Interests and other Plan terms related to the
            Insurance Policies and will be forever barred from asserting that
            the assignment and transfer of the Transferred Insurance Interests
            or other Plan terms affect the ability of the Trust or Class 6
            claimants to pursue the Non-Settling Insurers, or any of them, for
            insurance coverage. In the event that the Bankruptcy Court enters
            a Final Order that the assignment and transfer of the Transferred
            Insurance Interests is valid and does not defeat or impair coverage
            of the Non-Settling Insurers, following the Effective Date, the
            Archdiocese and Reorganized Debtor shall not be relieved of any
            obligations under the Non-Settling Insurers’ Insurance Policies. In
            order to ensure that the Archdiocese and Reorganized Debtor will
            abide by applicable obligations under the Insurance Policies, any
            release, discharge and/or injunction issued as a result of this Plan
            or in connection with this bankruptcy shall not encompass any
            claim by the Trust that the Archdiocese and/or Reorganized Debtor
            breached obligations under the Insurance Policies thereby causing
            the Trust to suffer damages, including in the amount of the
            insurance coverage lost as a result of the breach, and such a claim
            shall be an allowed claim for breach of contract against the
            Reorganized Debtor.




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E.   The UCC Plan Requires The Court To Issue An Improper Advisory Opinion On
     What Defenses The Insurers Can Raise In Future Litigation.

     Sections 6.1(b), 6.1(c), 6.3(a) and 6.3(d) of the UCC Plan:

            6.1 THE TRUST

            (b) Transferred Insurance Interests. … The Interests delineated
            in Section 6.1(b)(2) and defined as Transferred Insurance Interests
            are additional Trust Assets.

                                             ***

                    (3) . . . If the Trust brings an action against a Non-Settling
            Insurers to assert any claim or to determine the Non-Settling
            Insurers’ obligation to provide coverage . . ., the Non-Settling
            Insurer may raise any defense to coverage as if the action had been
            brought by the Archdiocese or Reorganized Debtor, except any
            defense (1) regarding the appointment; (2) effected by operation of
            law because of confirmation of this Plan; or (3) based on res
            judicata or collateral estoppel related to facts determined by the
            Bankruptcy Court.



                                             ***

            (c)      Appointment of Trustee as Estate Representative to
            Enforce Insurance Interests and Obtain Insurance Recoveries.
            If the Bankruptcy Court does not enter a Final Order approving the
            assignment and transfer of the Transferred Insurance Interests to
            the Trust, then pursuant to the provisions of Section 1123(b)(3)(B)
            of the Bankruptcy Code, the Trustee is hereby appointed as the
            representative of the Archdiocese’s Estate for the purpose of
            retaining and enforcing all of the Archdiocese’s and the Estate’s
            interests under the Non-Settling Insurers’ Insurance Policies
            against the Non-Settling Insurers with respect to the Class 6
            Claims. Any recoveries on such interests by the Trustee will be
            paid to the Trust. The determination of whether the appointment of
            the Trust as the Archdiocese’s and the Estate’s representative is
            valid, and does not defeat or impair the insurance coverage
            otherwise provided by Non-Settling Insurers, shall be made by the
            Bankruptcy Court at the confirmation hearing. If a party in interest
            (which, for this purpose, shall include the Non-Settling Insurers)
            fails to timely file an objection to the proposed appointment by the
            deadline for filing objections to confirmation of this Plan, that
            party in interest shall be deemed to have irrevocably consented to


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          the appointment and will be forever barred from asserting that the
          appointment in any way affects the ability of the Trust to pursue
          Non-Settling Insurers, or any of them, for insurance coverage. …If
          the Trust brings an action against a Non-Settling Insurer to assert
          any claim or to determine the Non-Settling Insurer’s obligation to
          provide coverage for any Class 6 Claim, the Non- Settling Insurer
          may raise any defense to coverage as if the action had been
          brought by the Archdiocese or the Reorganized Debtor, except any
          defense (1) regarding the appointment; (2) effected by operation of
          law because of confirmation of this Plan; or (3) based on res
          judicata or collateral estoppel related to facts determined by the
          Bankruptcy Court . . . .

                                  ***

          6.3    NON-SETTLING INSURERS.

          (a) Preservation of Rights and Obligations.

          (1) In the event: (i) a Class 6 Claim is pursued in state or federal
          court by a Class 6 claimant against the Archdiocese or
          Reorganized Debtor, or (ii) the Trust asserts an objection to or
          otherwise seeks a determination of liability as to a Class 6 Claim,
          then the Archdiocese, Reorganized Debtor, the Trust and each
          Non-Settling Insurer shall retain any and all legal and factual
          defenses that may exist in respect of such Class 6 Claim and all
          coverage defenses. The rights, duties and obligations of each Non-
          Settling Insurer and the Archdiocese or Reorganized Debtor under
          the Insurance Policies with respect to such Class 6 Claim are not
          impaired, altered, reduced, or diminished by: (a) any distribution to
          Class 6 claimants pursuant to this Plan, the Trust Agreement, and
          the Trust Distribution Plan; (b) the transfer and assignment of the
          Archdiocese’s Transferred Insurance Interests in the Insurance
          Policies issued by the Non-Settling Insurers; (c) releases granted to
          Settling Insurers under the Plan; or (d) any other provision of this
          Plan, the Trust Agreement, or the Trust Distribution Plan. Non-
          Settling Insurers retain any defenses that they would be able to
          raise if the claim for coverage were brought by the Archdiocese or
          Reorganized Debtor, except any defense (1) related to the transfer
          of Transferred Insurance Interests to the Trust; (2) effected by
          operation of bankruptcy law as a result of confirmation; or (3)
          based on facts determined by the Bankruptcy Court in connection
          with the confirmation.

                                          ***




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          (d) This Plan is Neutral as to Insurance Policies. For the
          avoidance of doubt, solely with respect to the Non-Settling
          Insurers, nothing in the Plan, the Trust Agreement, the Trust
          Distribution Plan, the Confirmation Order, or any other order of
          the Bankruptcy Court to the contrary (including any other
          provision that purports to be preemptory or supervening or grants a
          release): (i) shall affect, impair, or prejudice the rights and
          defenses of any Non-Settling Insurer, the Archdiocese, the
          Reorganized Debtor, the Trust, or any other insureds under any
          Insurance Policy in any manner, including any defenses to any
          claim for insurance; (ii) shall constitute a settlement or resolution
          of the Archdiocese’s or Reorganized Debtor’s liability to a
          claimant; (iii) shall in any way operate to, or have the effect of,
          impairing or having any res judicata, collateral estoppel, or other
          preclusive effect on, any party’s legal, equitable, or contractual
          rights or obligations under any insurance policy in any respect; or
          (v) shall otherwise determine the application or non-application of
          any provision of any Insurance Policy and any such rights and
          obligations shall be determined under the Insurance Policy and
          applicable law.




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F.   The UCC Plan Requires The Archdiocese To Breach Its Duty To Cooperate
     With The Insurers.

     Sections 6.1(b)(3), 6.1(c) and 6.2(b) of the UCC Plan:

            6.1 THE TRUST

            (b)(3) The foregoing assignment and transfer of the Transferred
            Insurance Interests does not affect the Archdiocese’s, the
            Reorganized Debtor’s or any Non-Settling Insurer’s right to
            contest the Archdiocese’s, or any other insured’s, liability or the
            amount of damages in respect of any Tort Claims.
            Notwithstanding the assignment and transfer of the Transferred
            Insurance Interests, the Archdiocese and Reorganized Debtor shall
            not be relieved of any obligations or duties under any Insurance
            Policy (including without limitation any duty to cooperate) and
            shall continue to honor such duties and obligations as required by
            such applicable Insurance Policies and applicable law. The
            transfer and assignment of the Transferred Insurance Interests does
            not affect any insurers’ rights, obligations or duties under
            applicable Insurance Policies or applicable law. If the Trust brings
            an action against a Non-Settling Insurer to assert any claim or to
            determine the Non-Settling Insurer’s obligation to provide
            coverage for any Tort Claim, the Non-Settling Insurer may raise
            any defense to coverage as if the action had been brought by the
            Archdiocese or the Reorganized Debtor, except any defense (1)
            regarding the assignment and transfer of the Transferred Insurance
            Interests; (2) effected by operation of law because of confirmation
            of this Plan; or (3) based on res judicata or collateral estoppel
            related to facts determined by the Bankruptcy Court.

                                            ***

            (c)   Appointment of Trustee as Estate Representative to
            Enforce Insurance Interests and Obtain Insurance Recoveries.
            ...

                    (1) In the event that a Final Order is entered holding that:
            (a) the assignment of the Transferred Insurance Interests . . . [is]
            invalid . . ., . . . the Archdiocese and the Reorganized Debtor will
            retain their Interests under each Insurance Policy.

                            (i) At the reasonable request of the Trust, the
                    Reorganized Debtor will assert its interests against a Non-
                    Settling Insurers, including, but not limited to, by filing a
                    lawsuit for recovery of policy proceeds. The Reorganized
                    Debtor will cooperate and assist the Trust in enforcing any


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                 right or prosecuting any claim based on the Transferred
                 Insurance Interests. This cooperation includes, but is not
                 limited to, providing access to documents and electronic
                 information and providing clergy, employees, agents, and
                 volunteers to testify in depositions and at trial. . . .

                                          ***



                 6.2     TREATMENT OF CLASS 6 CLAIMS

          (b)     Payment of Class 6 Claims. The Trust shall pay Class 6
          Claims in accordance with the terms of the Plan, the Confirmation
          Order, the Trust Agreement and the Trust Distribution Plan. The
          Archdiocese or the Reorganized Debtor shall reasonably cooperate
          with the Tort Claims Reviewer and the Trustee as requested by the
          Tort Claims Reviewer or the Trustee in connection with any
          inquiries by either in the administration of the Trust Distribution
          Plan. Under no circumstance shall the Tort Claims Reviewer’s
          review of a Class 6 Claim or a determination regarding a
          distribution thereon have any effect on the rights of a Non-Settling
          Insurer.




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G.   The UCC Plan Improperly Requires The Court To Grant Litigation
     Claimants Standing And A Right Of Intervention In The Insurance
     Coverage Adversary Proceeding.

     Section 6.2(i)(5) of the UCC Plan:

            6.2    TREATMENT OF CLASS 6 CLAIMS

                    (i)(5) As of the Effective Date, all Litigation Claimants will be
            deemed to have the right to join or intervene into the Insurance Coverage
            Litigation Adversary Proceeding.




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H.   The UCC Plan Requires The Court To Issue A Prohibited Advisory Opinion
     Regarding Whether The UCC Plan Satisfies Conditions In The Insurance
     Policies.

     Section 6.2(l)(1) of the UCC Plan:

            6.2    TREATMENT OF CLASS 6 CLAIMS

                                           ***

            (l)    Objections and Litigation After the Effective Date.

                     (1)     Regardless of whether a Class 6 claimant
            elects treatment as a Distribution Plan Claimant or a
            Litigation Claimant, the Trustee may object to that Class 6
            Claimant’s Claim or initiate a court proceeding
            contemplated by 28 U.S.C. § 157, over any objection of a
            Non-Settling Insurer, if the purpose is to obtain a judicial
            determination as to whether the Archdiocese or
            Reorganized Debtor is liable, and the amount of such
            liability, for the purpose of insurance coverage under such
            Non-Settling Insurer’s Insurance Policies.




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I.   The UCC Plan’s Procedures For Establishing The Archdiocese’s Liability Are
     Collusive And Violate The Rights Of The Archdiocese And The Insurers.

     Sections 6.2(l)(1) and 6.3(a)(1) of the UCC Plan:

            6.2    TREATMENT OF CLASS 6 CLAIMS

            (l)    Objections and Litigation After the Effective Date.

                    (1)    Regardless of whether a Class 6 claimant elects
            treatment as a Distribution Plan Claimant or a Litigation Claimant,
            the Trustee may object to that Class 6 Claimant’s Claim or initiate
            a court proceeding contemplated by 28 U.S.C. § 157, over any
            objection of a Non-Settling Insurer, if the purpose is to obtain a
            judicial determination as to whether the Archdiocese or
            Reorganized Debtor is liable, and the amount of such liability, for
            the purpose of insurance coverage under such Non-Settling
            Insurer’s Insurance Policies.

                                            ***

            6.3    NON-SETTLING INSURERS.

            (a) Preservation of Rights and Obligations.

                     (1) In the event: (i) a Class 6 Claim is pursued in state or
            federal court by a Class 6 claimant against the Archdiocese or
            Reorganized Debtor, or (ii) the Trust asserts an objection to or
            otherwise seeks a determination of liability as to a Class 6 Claim,
            then the Archdiocese, Reorganized Debtor, the Trust and each
            Non-Settling Insurer shall retain any and all legal and factual
            defenses that may exist in respect of such Class 6 Claim and all
            coverage defenses. The rights, duties and obligations of each Non-
            Settling Insurer and the Archdiocese or Reorganized Debtor under
            the Insurance Policies with respect to such Class 6 Claim are not
            impaired, altered, reduced, or diminished by: (a) any distribution to
            Class 6 claimants pursuant to this Plan, the Trust Agreement, and
            the Trust Distribution Plan; (b) the transfer and assignment of the
            Archdiocese’s Transferred Insurance Interests in the Insurance
            Policies issued by the Non-Settling Insurers; (c) releases granted to
            Settling Insurers under the Plan; or (d) any other provision of this
            Plan, the Trust Agreement, or the Trust Distribution Plan. Non-
            Settling Insurers retain any defenses that they would be able to
            raise if the claim for coverage were brought by the Archdiocese or
            Reorganized Debtor, except any defense (1) related to the transfer
            of Transferred Insurance Interests to the Trust; (2) effected by


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          operation of bankruptcy law as a result of confirmation; or (3)
          based on facts determined by the Bankruptcy Court in connection
          with the confirmation.




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J.   The UCC Plan Contains An Impermissible Assignment Of Proceeds
     From Personal Injury Claims To The Trust.

     Section 6.2(i)(2), 6.2(i)(3) and 6.4(c) of the UCC Plan:

            6.2     TREATMENT OF CLASS 6 CLAIMS

                                             ***

            (i)     Litigation Claims. In the event a Litigation Claimant
            obtains a judgment against the Archdiocese or Reorganized Debtor
            or achieves a settlement with the Archdiocese, Reorganized Debtor
            and/or any Non-Settling Insurer on his or her Class 6 Claim, then
            such recovery will be turned over to the Trust for distribution
            pursuant to this Plan.

                                             ***

                    (2) In the event that any Non-Settling Insurer is implicated
            by the Litigation Claim, and (a) either a settlement is achieved with
            such Non-Settling Insurer(s) as to such Litigation Claim or (b) the
            Litigation Claimant obtains a judgment against the Archdiocese or
            Reorganized Debtor and either (i) the Trust or (ii) the Litigation
            Claimant obtains a recovery from any such Non-Settling Insurer(s)
            as to such judgment, then such recovery shall be turned over to the
            Trust for distribution pursuant to this Plan. Such recovery shall
            first go to reimburse the Trust or the Litigation Claimant, as the
            case may be, for all reasonable attorneys’ fees and costs incurred in
            connection with pursuing the recovery against the Non-Settling
            Insurer(s) relating to the Litigation Claim. Any remaining amount
            of any such recovery shall be divided as follows:

                            (i)     If a settlement is obtained with the
                    Archdiocese, Reorganized Debtor, or Non-Settling
                    Insurer(s) on the Litigation Claim before any judgment was
                    obtained in the Litigation Claim, then the Litigation
                    Claimant is entitled to receive a portion of such settlement
                    up to a maximum amount of: the total amount awardable
                    for that Litigation Claimant’s Litigation Claim under the
                    Trust Distribution Plan plus 15% of the total settlement,
                    with the remainder to go to the Trust. The 15% will be
                    payable by the Trust only if the settlement or judgment is in
                    an amount sufficient to pay the total amount awardable
                    under the Trust Distribution Plan for that Litigation
                    Claimant’s Claim plus the 15%.




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                         (ii)    If a judgment is obtained on the Litigation
                 Claim and the resolution with or judgment against the
                 Archdiocese, Reorganized Debtor, or Non-Settling Insurer
                 is obtained thereafter, then the Litigation Claimant is
                 entitled to receive a portion of such judgment or settlement
                 up to a maximum amount of: the total amount awardable
                 for that Litigation Claimant’s Litigation Claim under the
                 Trust Distribution Plan plus 30% of the total settlement or
                 judgment, with the remainder to go to the Trust. The 30%
                 will be payable by the Trust only if the settlement or
                 judgment is in an amount sufficient to pay the total amount
                 awardable under the Trust Distribution Plan for that
                 Litigation Claimant’s Claim plus the 30%.

                  (3)     The Trust’s payment to a Litigation Claimant that
          has recovered a judgment or settlement does not affect, diminish or
          impair the Trust’s right to collect the policy proceeds respecting
          such Class 6 Claim from any Non-Settling Insurer, nor does it
          affect, diminish or impair the Trust’s right to bring any claims
          against the Non-Settling Insurer that have been assigned to the
          Trust or that belong to the Trust by operation of law.

                                         ***

          6.4  TRUST POWERS WITH RESPECT TO CLASS 6
          CLAIMS AND NON-SETTLING INSURERS

                                         ***

          (c)     If the Trust successfully resolves an insurance coverage
          dispute or otherwise receives a recovery of insurance proceeds
          relating to any Class 6 Claim(s), such proceeds shall become Trust
          Assets, and shall increase the amount available to pay Class 6
          Claims, pursuant to the Trust Distribution Plan. In such event, and
          on a periodic basis accumulating all such recoveries, the Trust
          shall make supplemental payments to Class 6 claimants in
          accordance with the Trust Agreement and Trust Distribution Plan.




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K.      The UCC Plan’s Provisions Dealing With Prosecution Of Tort Claims And
        Claims Against The Insurers Involve Champerty And Maintenance.

        Sections 6.1(a), 6.2(i)(2), 6.2(i)(4), 6.4(a), 6.4(b) and 6.4(c) of the UCC

Plan:

               6.1 THE TRUST.

               (a) Purpose, Formation and Assets. The Trust shall be
               established for the purposes described in this paragraph. The Trust
               shall receive the transfer and assignment of assets as provided in
               Articles V and VI, including from amounts transferred from the
               Plan Implementation Account, Settling Insurer Contributions, and
               the Transferred Insurance Interests, of which the Trust is, and shall
               be deemed to be, the sole assignee. The Trust shall make
               distributions to the Class 6 claimants, as provided by this Plan, the
               Trust Agreement, and the Trust Distribution Plan. The Trust shall
               fund the defense of the Archdiocese and Reorganized Debtor as
               against any Litigation Claims brought by Class 6 claimants, but
               only to the extent that the Archdiocese or Reorganized Debtor is
               not defended or otherwise reimbursed for its defense expenses by
               any Insurer. The Trust shall advance funding or indemnify the
               Archdiocese and Reorganized Debtor with respect to any
               judgments or settlements of any Litigation Claims brought by
               Class 6 claimants, but only to the extent that such judgments or
               settlements are not funded, or the Archdiocese or the Reorganized
               Debtor is not indemnified for them, by any Insurer. The Trust
               shall pursue recoveries against any Non-Settling Insurers in respect
               of the Transferred Insurance Interests. The Trust shall fund the
               costs and expenses in executing these functions, all such functions
               to be executed in accordance with this Plan, the Trust Agreement,
               and the Trust Distribution Plan, with the aim of preserving,
               managing and maximizing Trust Assets to pay Class 6 claimants
               and with no objective to continue or engage in the conduct of a
               trade or business. The proposed Trust Agreement is attached
               hereto as Exhibit D. …

                                       ***

               6.2     TREATMENT OF CLASS 6 CLAIMS

                                                   ***

               (i)     Litigation Claims. In the event a Litigation Claimant
               obtains a judgment against the Archdiocese or Reorganized Debtor
               or achieves a settlement with the Archdiocese, Reorganized Debtor


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          and/or any Non-Settling Insurer on his or her Class 6 Claim, then
          such recovery will be turned over to the Trust for distribution
          pursuant to this Plan.

                                         ***

                         (2)     In the event that any Non-Settling Insurer is
                 implicated by the Litigation Claim, and (a) either a
                 settlement is achieved with such Non-Settling Insurer(s) as
                 to such Litigation Claim or (b) the Litigation Claimant
                 obtains a judgment against the Archdiocese or Reorganized
                 Debtor and either (i) the Trust or (ii) the Litigation
                 Claimant obtains a recovery from any such Non-Settling
                 Insurer(s) as to such judgment, then such recovery shall be
                 turned over to the Trust for distribution pursuant to this
                 Plan. Such recovery shall first go to reimburse the Trust or
                 the Litigation Claimant, as the case may be, for all
                 reasonable attorneys’ fees and costs incurred in connection
                 with pursuing the recovery against the Non-Settling
                 Insurer(s) relating to the Litigation Claim. Any remaining
                 amount of any such recovery shall be divided as follows:

                                (i)      If a settlement is obtained with the
                        Archdiocese, Reorganized Debtor, or Non-Settling
                        Insurer(s) on the Litigation Claim before any
                        judgment was obtained in the Litigation Claim, then
                        the Litigation Claimant is entitled to receive a
                        portion of such settlement up to a maximum amount
                        of: the total amount awardable for that Litigation
                        Claimant’s Litigation Claim under the Trust
                        Distribution Plan plus 15% of the total settlement,
                        with the remainder to go to the Trust. The 15% will
                        be payable by the Trust only if the settlement or
                        judgment is in an amount sufficient to pay the total
                        amount awardable under the Trust Distribution Plan
                        for that Litigation Claimant’s Claim plus the 15%.

                                (ii)    If a judgment is obtained on the
                        Litigation Claim and the resolution with or
                        judgment against the Archdiocese, Reorganized
                        Debtor, or Non-Settling Insurer is obtained
                        thereafter, then the Litigation Claimant is entitled to
                        receive a portion of such judgment or settlement up
                        to a maximum amount of: the total amount
                        awardable for that Litigation Claimant’s Litigation
                        Claim under the Trust Distribution Plan plus 30% of



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                        the total settlement or judgment, with the remainder
                        to go to the Trust. The 30% will be payable by the
                        Trust only if the settlement or judgment is in an
                        amount sufficient to pay the total amount awardable
                        under the Trust Distribution Plan for that Litigation
                        Claimant’s Claim plus the 30%.

                                         ***

                          (4)    If a Non-Settling Insurer has refused to
                 defend the Archdiocese or Reorganized Debtor with respect
                 to any Litigation Claim, the Trust will advance or
                 reimburse the Archdiocese or Reorganized Debtor for
                 reasonable attorneys’ fees and other expenses incurred in
                 defending the Litigation Claim, provided the Trust has
                 consented in advance, such consent not to be withheld
                 unreasonably. If any Non-Settling Insurer has refused to
                 indemnify the Archdiocese or Reorganized Debtor with
                 respect to any settlement or judgment of a Litigation Claim,
                 the Trust will advance or reimburse the Archdiocese or
                 Reorganized Debtor for any judgment or settlement
                 incurred by the Archdiocese or Reorganized Debtor on
                 such Litigation Claim incurred, provided the Trust has
                 consented in advance to any such settlement, such consent
                 not to be withheld unreasonably. The Trust’s advancement
                 or reimbursement of the Archdiocese or Reorganized
                 Debtor for such defense costs and/or judgment or
                 settlement payments, and any distributions made by the
                 Trust to the Litigation Claimant and other Class 6
                 claimants, will not affect, diminish or impair the Trust’s
                 right to bring claims against any Non-Settling Insurer for
                 refusing to defend and/or indemnify the Archdiocese or
                 Reorganized Debtor, including but not limited to claims for
                 payment of policy proceeds, bad faith, wrongful failure to
                 settle, and extra-contractual damages authorized by law.

                                         ***

          6.4  TRUST POWERS WITH RESPECT TO CLASS 6
          CLAIMS AND NON-SETTLING INSURERS

          (a)    With the consent of the Trustee, the Archdiocese or
          Reorganized Debtor may enter into a settlement of a Class 6 Claim
          allowed by applicable non-bankruptcy law including but not
          limited to settlements consistent with Miller v. Shugart, 316
          N.W.2d 729 (Minn. 1982) or Drake v. Ryan, 514 N.W.2d 785



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          (Minn. 1994), and may enter into an arrangement with Class 6
          claimant’s counsel providing such counsel will receive reasonable
          compensation from any recovery from the Archdiocese, the
          Reorganized Debtor or a Non-Settling Insurer as provided in
          Section 6.2.

          (b)      The Trustee may use the Trust Assets, to prosecute
          litigation against the Non-Settling Insurers.

          (c)     If the Trust successfully resolves an insurance coverage
          dispute or otherwise receives a recovery of insurance proceeds
          relating to any Class 6 Claim(s), such proceeds shall become Trust
          Assets, and shall increase the amount available to pay Class 6
          Claims, pursuant to the Trust Distribution Plan. In such event, and
          on a periodic basis accumulating all such recoveries, the Trust
          shall make supplemental payments to Class 6 claimants in
          accordance with the Trust Agreement and Trust Distribution Plan.




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                 UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

In re:                                                           Case No. 15-30125

The Archdiocese of Saint Paul and                                       Chapter 11
Minneapolis,

           Debtor.
________________________________________________________________________

                 UNSWORN CERTIFICATE OF SERVICE
________________________________________________________________________

         I, Dale O. Thornsjo, declare under penalty of perjury that on July 7, 2017, I caused

the following document:

         Memorandum of Law and Appendix in Support of the Objections of
         Travelers Casualty and Surety Company, Hartford Accident and
         Indemnity Company, American Home Assurance Company, TIG
         Insurance Company, and Fireman’s Fund Insurance Company to the
         Second Amended Chapter 11 Plan of Reorganization of the Official
         Committee of Unsecured Creditors

to be filed electronically with the Clerk of Court, and that a copy of the above-referenced

document was delivered to the parties who are Filing Users, by automatic e-mail

notification pursuant to the Electronic Case Filing System, and this notice constitutes

service pursuant to Local Rule 9006-1(a). The following parties required to receive

service under Local Rule 9013-3(b) have received service by ECF:

The Plan Proponent and Attorneys for Official Committee of Unsecured Creditors:

Philip J. Ashfield – phillip.ashfield@stinsonleonard.com
Edwin H. Caldie – Edwin.Caldie@stinsonleonard.com
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The United States Trustee:

Robert Raschke – robert.raschke@usdoj.gov
Sarah K. Wencil – Sarah.J.Wencil@usdoj.gov

Executed on: July 7, 2017.            Signed: /e/ Dale O. Thornsjo
                                      Dale O. Thornsjo
                                      O’MEARA, LEER, WAGNER & KOHL, P.A.
                                      7401 Metro Boulevard, Suite 600
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